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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             Case No. 14-cv-22419-COOKE/TORRES

   JOSEPH PEREA

          Plaintiff,

                        v.                        Hon. Marcia G. Cooke

   AVMED, INC., d/b/a AvMed,
   a Florida Non-Profit Corporation



          Defendant.



                       STIPULATION OF DISMISSAL WITH PREJUDICE
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Joseph Perea and

 Defendant AvMed, Inc., hereby stipulate to the voluntary dismissal with prejudice of all claims

 asserted or which could have been asserted in this action by way of complaint or counterclaim.

 Each Party will bear its own attorneys’ fees and costs. A proposed order is attached hereto.

 Dated: July 18, 2014

 Respectfully submitted,


  By: __/s/ Paulo R. Lima_________                  By: __ /s/ Joseph Perea_________
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on July 18, 2014, I filed a copy of the foregoing using the

 Court’s CM/ECF filing system, which will cause a copy of the same to be delivered

 electronically to all counsel of record.




                                                       /s/ Paulo R. Lima
                                                       Paulo R. Lima
